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14                         UNITED STATES DISTRICT COURT
15                        EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,             Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                 DECLARATION OF RICHARD DRURY
19 vs.                                          IN SUPPORT OF PLAINTIFF'S MOTION
                                                FOR INTERIM AWARD OF FEES AND
20 COSUMNES CORPORATION, dba MURIETA            COSTS
   EQUESTRIAN CENTER,
21
                                                Hearing Date: June 12, 2025
22                       Defendant.             Time: 10:00 AM
                                                Courtroom: 27, 8th Floor
23                                              Hon. Sean Riordan
24

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     DECLARATION OF RICHARD DRURY ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1          Pursuant to 28 U.S.C. § 1746, I, Richard Drury, declare under penalty of perjury under the

 2 laws of the United States of America that the following facts are true and correct:

 3          1.        The facts set forth in this declaration are based on my personal knowledge; if called

 4   to testify as a witness, I could and would competently testify thereto under oath. As to those

 5   matters that reflect a personal opinion, they reflect my personal opinion and judgment upon the

 6   matter.

 7          2.        I am more than eighteen years old and am competent to testify as to the matters set

 8   forth herein.

 9      I. BACKGROUND AND EXPERTISE

10          3.        I am licensed to practice law in the State of California and am a partner with Lozeau
11    Drury LLP in Oakland, California. I graduated from Yale Law School in 1990, where I received
12    the Raphael Lemkin Prize for outstanding work in international human rights for a book on
13    international human rights law which was later published as Plowshares and Swords (Beacon
14    Press, 1992).
15          4.        After graduating from law school, I served as a judicial law clerk to Chief Judge
16    Thelton E. Henderson of the United States District Court for the Northern District of California
17    from 1990 to 1992. Following my clerkship, I worked as a law fellow at the San Francisco
18    environmental law firm Shute, Mihaly & Weinberger LLP from 1992 to 1993, where I represented
19    public agencies and citizen groups in environmental litigation.
20          5.        For a decade from 1993 through 2003, I worked as legal director and staff attorney
21    for Communities for a Better Environment (“CBE”) in Oakland, California. While at CBE, I
22    specialized in public interest litigation related to land use law, water and air quality, and public
23    health, and successfully prosecuted over fifty (50) environmental lawsuits in both state and federal
24    court, including trials, summary judgment motions, and settlements. In March 2003, I moved from
25    CBE to Adams, Broadwell, Joseph, & Cardozo, where I represented community groups, public
26    interest organizations, and workers in cases related to land use, public health, and the environment.
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 1         6.     Since May 1, 2008, I have been a founding partner of Lozeau Drury LLP, where I
 2   continue to represent community groups, public interest organizations, and workers in cases
 3   related to land use, public health, and the environment.
 4         7.     I have also been an Adjunct Professor of environmental law at the University of
 5   California Berkeley School of Law, Golden Gate University School of Law, and the New College
 6   of California School of Law.
 7         8.     I have lectured extensively on various topics related to land use and environmental
 8   law at several California State Bar mandatory continuing legal education classes on environmental
 9   law, State Bar Environment Section annual conferences, and at several law schools, including

10   Harvard, Yale, Stanford, and UC Berkeley.

11         9.     I was recipient of the 2011, 2009, and 2002 California Lawyer Magazine Attorney of

12   the Year award in the field of environmental law and am one of only a handful of lawyers to

13   receive this award three times.

14         10.    In 2022, I was elected as a fellow with the American College of Environmental

15   Lawyers.

16         11.    I have been named a SuperLawyer every year since 2008.

17         12.    In 2003, I received the Ecology Law Quarterly Environmental Leadership Award.

18         13.    In 2004, I delivered a keynote speech at the Public Interest Environmental Law

19   Conference at the University of Oregon School of Law.

20         14.    I was also one of ten young lawyers featured for outstanding work in the field of

21   environmental law by the California Lawyer magazine (November 1997).

22     II. FEE AWARD EXPERTISE

23         15.    As a practicing California environmental lawyer for over thirty-five (35) years, I am
24   very familiar with rates charged by environmental lawyers in the Eastern District of California and
25   the market for services performed by attorneys with the level of experience and competence of the
26   lawyer in this action. I have had numerous cases in state and federal courts in the Eastern District
27   of California. My familiarity with rates in the Eastern District market comes from charging
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 1   market-rate clients, obtaining court-awarded fees, obtaining fees through settlement, being

 2   involved in attorneys’ fees litigation, by discussing fees with other attorneys, by studying

 3   published surveys of billing rates, and by obtaining declarations regarding prevailing market rates

 4   in cases where my clients have sought payment of reasonable attorneys’ fees and costs.

 5         16.     I am also familiar, through my legal experience in environmental cases, with the

 6   complexity and difficulty of environmental litigation, and the extraordinary skill required to

 7   successfully litigate such cases.

 8         17.     I have extensive experience litigating environmental cases in the Eastern District of

 9   California. For example, I was lead counsel in U.S. District Court in Sacramento in the case of

10   League to Save Lake Tahoe v. Tahoe Regional Planning Agency (E.D. Cal. July 30, 2009, No.

11   2:08-CV-2447 JAM/KJM) 2009 WL 10692789. I was lead counsel in the related cases under

12   CEQA and the federal Clean Air Act in the Central Valley, Coalition for Clean Air v. City of

13   Visalia (2012) 209 Cal.App.4th 408, and Coalition for Clean Air v. VWR International, LLC (E.D.

14   Cal. 2013) 922 F.Supp.2d 1089. The cases were resolved after extensive motion practice and

15   published opinions in state and federal court, including an attorney fee award.

16         18.     I am familiar with the commercial rates charged by partners in the Eastern District of

17   California with comparable skill to the attorney in this action. It is my opinion that such rates are

18   currently in the range of $575 to over $850 per hour.

19         19.     Our firm currently has market-rate clients who pay our partners hourly rates ranging

20   from $700 to $1000 per hour and who pay associates at our firm rates ranging from $375 to $550

21   per hour.

22         20.     In addition to prior court fee decisions, courts often rely upon the National Law

23   Journal billing rate survey and similar forum-specific surveys as instructive in determining

24   appropriate market rates. See, e.g., Schwarz v. Sect. of Health & Human Services (9th Cir. 1995)

25   73 F.3d 895, 908; Center for Biological Diversity v. County of San Bernardino (2010) 185

26   Cal.App.4th 866, 900 (relying on 2007 National Law Journal annual survey showing San

27   Francisco partner rates between $495 and $775 per hour).

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 1             21.     Our firm regularly files petitions for attorney fees under various environmental

 2       statutes. For example, on January 30, 2025, our firm was awarded partner rates of $1000 per hour

 3       in a CEQA action in Los Angeles County Superior Court, Judge Curtis Kin, Supporters Alliance

 4       for Environmental Responsibility v. City of Ingleside, (Los Angeles Superior Court,

 5       23STCP00195). 1 In 2023, our firm was awarded partner rates of $900 per hour, associate rates

 6       between $430 and $500 per hour, and paralegal rates of $200 per hour, plus a 1.5 multiplier in a

 7       contested fee motion in a CEQA action brought in San Mateo County. Coalition of Pacificans for

 8       an Updated Plan v. City of Pacifica (Super. Ct. Feb. 6, 2023, No. 20-CIV-05719) 2. In the 2021

 9       case of Durkin v. City and County of San Francisco (Super. Ct. July 28, 2021, No. CPF-20-

10       517317), San Francisco Superior Court Judge Rochelle East awarded me an hourly rate of $850

11       per hour, plus a multiplier of 1.75 in a contested fee motion.1 In the case of Fowler v. City of

12       Lafayette (Super. Ct. Dec. 4, 2020, No. MSN 16-2322), Judge Ed Weil of the Contra Costa

13       County Superior Court found in a contested motion that an hourly rate of $750 per hour was

14       appropriate for my work on an attorney fee motion. In the 2016 case of Environmental Research

15       Center v. Rain International (Super Ct. Alameda County Aug. 8, 2016, No. RG16817466),

16       brought under the California Safe Drinking Water and Toxic Enforcement Act (Proposition 65),

17       California Health & Safety Code § 25249.5, Judge Scott Patton made an express finding that

18       partner rates of $700 per hour; associate rates ranging from $350 per hour (first year associate) to

19       $420 per hour (fourth year associate); and paralegal rates of $175 per hour were reasonable. Ibid.

20       (“The award of attorney’s fees is reasonable under California law.”).

21             22.     In the 2015 case of California Sportfishing Protection Alliance v. Calif. Regional

22       Water Quality Control Board, Sacramento Superior Court Case No. 34-2013-80001358-CU-WM-

23       GDS, Judge Michael Kenny awarded my law partner an hour rate of $700 per hour.

24             23.     In 2008 I was also awarded a rate of $650 per hour by San Francisco Superior Court

25       Judge Ernest Goldsmith in the case of Environmental Law Foundation v. Laidlaw Transit Inc.

26

27
     1
         Case currently on appeal.
28   2
         Case currently on appeal.
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 1   (Super. Ct. Sept. 22, 2008, No. CGC-06-451832). Judge Goldsmith made an express finding that

 2   the rate of $650 per hour was reasonable. Partner rates in that case ranged from $550 to $700 per

 3   hour. Associate rates ranged from $375 to $575 per hour. Rates have increased significantly since

 4   2008 when these rates were awarded by the Superior Court. The San Francisco Superior Court

 5   found the following hourly rates reasonable in that action, plus a 1.25 multiplier:

 6                         Years of Experience             Hourly Rate ($)
                           29                              750
 7
                           26                              700
 8                         24                              700
                           23                              650
 9
                           18                              650
10                         16                              625
                           14                              600
11
                           10                              560
12                         9                               495-575
                           8                               475
13                         7                               450
14                         6                               395
                           4                               325
15                         2                               300
16                         1                               250
                           Paralegals                      145-175
17                         Interns                         125
18

19     III. REVIEW OF PLAINTIFF’S COUNSELS’ RECENT FEE AWARDS
20
             24.   I have reviewed recent cases in which the attorneys for Plaintiff have been awarded
21
     fees.
22
             25.   In San Francisco Baykeeper v. City of Sunnyvale, Case No. 5:20-cv-00824-EJD,
23
     2024 U.S. Dist. LEXIS 167582, *4 (N.D. Cal. September 17, 2024), ATA attorneys were awarded
24
     the following 2023 rates:
25

26
         San Francisco Baykeeper v. City of Sunnyvale, Case No. 5:20-cv-00824-EJD, 2024
27
         U.S. Dist. LEXIS 167582 (N.D. Cal. September 17, 2024)
28
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 1       Timekeeper                     Role             Experience           Hourly Rate
 2       Jason Flanders                 Partner          18 years             $855
 3       Erica Maharg                   Partner          14 years             $795
 4       Kayla Karimi                   Associate        1 year               $350

 5       Esmeralda Bustos               Paralegal        > 10 years           $300

 6       Theresa Trillo                 Paralegal        1.5 years            $250
         Admin                          Admin            N/A                  $150
 7
           26.    In that same case, the court also approved rates for co-counsel, including $975 for a
 8
     partner with 32 years’ experience, $775 for a partner with 13 years’ experience, and $675 for an
 9
     associate with 9 years’ experience. Id.
10

11         27.    In July 2024, the Central District of California upheld ATA’s and co-counsels’ rates

12   as reasonable, and found partner rates reasonable up to $1055 per hour. See Ecological Rights

13   Found. v. Hot Line Constr., Inc., Case No. 5:20-cv-01108-AB-kk, 2024 U.S. Dist. LEXIS 129282,

14   at **6-8, 2024 WL 3507023, at *3 (C.D. Cal. July 19, 2024), appeal dismissed, No. 24-5093, 2024

15   WL 4824040 (9th Cir. Sept. 25, 2024)\. This case was an enforcement action brought pursuant to

16   the Resource Conservation and Recovery Act.

17         28.    Plaintiff’s counsel in that case sought and were awarded the following rates:
18
          Ecological Rights Found. v. Hot Line Constr., Inc., Case No. 5:20-cv-01108-AB-kk,
19        2024 U.S. Dist. LEXIS 129282 (C.D. Cal. July 19, 2024).
20
          Timekeeper                   Role             Experience           Hourly Rate
21
          Matthew Maclear              Partner          24 years             $950
22        Jason Flanders               Partner          19 years             $910
23        Christopher Hudak            Associate        13 years             $825
24        Austin Sutta                 Associate        10 years             $755
25        J. Thomas Brett              Associate        7 years              $660

26        Kenya Rothstein              Associate        3 years              $525

27        Harrison Beck                Associate        3 years              $525
          Theresa Trillo               Associate        1 year               $455
28
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 1         Esmeralda Bustos               Paralegal        > 10 years           $350
 2         Theresa Trillo                 Paralegal        1.5 years            $265
 3          29.     In September 2018, the Sacramento County Superior Court awarded the following

 4    rates to ATA attorneys and co-counsel in North Coast Rivers Alliance et al. v. Cal. Dept of Food

 5    and Agriculture, Sacramento County Superior Court, Case No. 34-2015-80002005, Sept. 4, 2018.

 6
                        Years of                                    2018 Rate - Adjusted
                                          2018 Rate Awarded
 7                     Experience                                      for Inflation 3
                           44                      $650                     $812
 8
                           38                      $650                     $812
 9                         18                      $525                     $656
                           13                      $450                     $562
10
                           11                      $425                     $531
11                          8                      $375                     $468
                            3                      $325                     $406
12                      Paralegal                  $175                     $219
13

14     IV. FAMILIARITY WITH MARKET RATES IN THE EASTERN DISTRICT OF
     CALIFORNIA AND STATEWIDE
15
            32.     I am also familiar with other cases awarding attorneys’ fees in the Eastern District of
16
      California or Superior Courts in that jurisdiction. These provide further support for the rates
17
      counsel is seeking in this case.
18
                        a. Shabestari v. Bank of the West et al., Sacramento County Superior Court,
19
                             Case No. 34-2017-00210831, approving partner rate of $850 per hour
20
                             (October 16, 2019).
21
                        b. Perez v. CVS Health Corp, 2021 U.S. Dist. LEXIS 110216 at *35, 2021 WL
22
                             2402950, at *11 (E.D. Cal. 2021) - awarding partner rates of $720 and $750
23
                             per hour and associate rates of $575 per hour.
24
                        c.   Maciel v. Bar 20 Dairy LLC, 2021 U.S. Dist. LEXIS 87242, at *30, 2021
25
                             WL 1813177, at *10 (E.D. Cal. 2021) – awarding hourly rates of $625 to
26

27
   3
     The inflation increase from September 2018 to September 2024 was calculated using the Bureau
28 of Labor Statics CPI inflation Calculator, available at: https://data.bls.gov/cgi-bin/cpicalc.pl.
                                             8
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 1                          $850 for partners, $350 to $450 for associates, $250 to $350 for paralegals,

 2                          and $150 for secretaries

 3                     d. Singh v. Roadrunner Intermodal Servs., LLC, No. 1:15-cv-01497-DAD-

 4                          BAM, 2019 U.S. Dist. LEXIS 11724, at *10, 2019 WL 316814, at *10 (E.D.

 5                          Cal. Jan. 24, 2019) – awarding the court rates of between $330 and $550 for

 6                          associates, and $500 and $720 for partners.

 7                     e.   Mathein v. Pier 1 Imports (U.S.), Inc., No. 1:16-cv-00087-DAD-SAB, 2018

 8                          U.S. Dist. LEXIS 71386, at *11, 2018 WL 1993727, at *11 (E.D. Cal. Apr.

 9                          27, 2018) – accepting rates between $475 and $575 for associates, and $675

10                          and $750 for senior counsel and partners

11                     f. People of the State of California v. Native Wholesale Supply Co, Sacramento

12                          County Superior Court No. 34-2008-00014593-CU-CL-GDS, Minute Order

13                          filed March 29, 2017, aff’d 37 Cal.App.5th 73, 96 (2019) - the California

14                          Attorney General’s Sacramento office was awarded its reasonable attorneys’

15                          fees: 31 years (lead attorney), $750; 33-41years, $675; 23 years, $525; 18

16                          years, $500; 13 years, $400; and 5 years, $325. On appeal, that Order was

17                          affirmed in full. See People ex rel Becerra, 37 Cal.App.5th 73, 96 (2019).

18                     g. Emmons v. Quest Diagnostics Clinical Labs., Inc., No. 1:13-cv-00474-DAD-

19                          BAM, 2017 U.S. Dist. LEXIS 27249, at *8, 2017 WL 749018, at *8 (E.D.

20                          Cal. Feb. 27, 2017) – awarding rates of between $370 and $495 for associates

21                          and $545 and $695 for senior counsel and partners.

22           33.   I am familiar with the following cases in the Ninth Circuit and in other district courts

23 in California awarding fees, which provide a further basis for the rates sought by counsel in this

24 action:

25                     a. In Kennedy Commission v. City of Huntington Beach (2023) 91 Cal.App.5th

26                          436, the California Court of Appeal upheld an attorneys’ fee award in an

27                          action brought in the County of Los Angeles in which the billing rates

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 1                     claimed by one firm ranged from $400 per hour for junior attorneys to $1,125

 2                     per hour for senior partners. 91 Cal.App.5th at 450, 465-66. The court also

 3                     upheld the awarding of a multiplier of 1.4. Id. at 466-67.

 4                  b. In Perfect 10, Inc. v. Giganews, Inc. (C.D. Cal. Mar. 24, 2015, No. CV 11-

 5                     07098-AB (SHx)) 2015 WL 1746484, affd. (9th Cir. 2017) 847 F.3d 657, the

 6                     Central District Court of California approved partner rates ranging from $750

 7                     to $930 per hour, and associate rates ranging from $360 to $690 per hour,

 8                     based on prevailing rates in Los Angeles. In 2010, the Ninth Circuit Court

 9                     approved an attorney’s fee award of $740 for a partner, and associate rates of

10                     $340 and $370. Prison Legal News v. Schwarzenegger (9th Cir. 2010) 608

11                     F.3d 446.

12                  c. In 2010, the California Court of Appeal noted that “partners at a San

13                     Francisco firm [charge] between $495 and $775, and associates charge

14                     between $275 and $485.” Center for Biological Diversity, 185 Cal.App.4th at

15                     900.

16                  d. In BladeRoom Group Limited v. Emerson Electric Co. (N.D. Cal. Apr. 6,

17                     2020, No. 5:15-cv-01370-EJD) 2020 WL 1677328, the court found the

18                     following 2019 hourly rates reasonable:

19
                        Level                      Hourly Rates ($)
20                      Partners                   640-901
21                      Senior Associates          385-650
                        Associates                 325-595
22                      Senior Paralegals          305-330
23                      Litigation Support         225-385

24                  e. In Department of Fair Employment and Housing v. Law School Admission

25                     Council, Inc. (N.D. Cal. Nov. 5, 2018, No. 12-cv-01830-JCS) 2018 WL

26                     5791869, an action for civil contempt based on violation of a consent decree,

27                     the court found the following hourly rates reasonable:

28
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 1                       Years of Experience                  Rates ($)
                         35                                   850
 2
                         5 and 6                              425
 3                       Law Clerk and 1st Year               290

 4                  f. In Ridgeway v. Wal-Mart Stores, Inc. (N.D. Cal. 2017) 269 F.Supp.3d 975, a
 5                        wage and hour class action, the court issued a statutory fee award against
 6                        Wal-Mart based on the following 2017 rates (plus a 2.0 multiplier), Partners:
 7                        $730 - $900 per hour; Associates: $300-$700 per hour; Paralegals: $195-
 8                        $225 per hour.
 9                  g. The U.S. District Court for the Northern District of California has approved
10                        hourly rates of $1,085 for a partner with forty years of experience, $920 for a
11                        partner with twenty years of experience, $710 for a sixth-year associate, and
12                        $640 for a fourth-year associate as reasonable. See Wynn v. Chanos (N.D.
13                        Cal. June 19, 2015, No. 14-cv-04329-WHO) 2015 WL 3832561, at *2-3.
14                  h.    In National Abortion Federation v. Center for Medical Progress (N.D. Cal.
15                        Dec. 23, 2021, No. 3:15-CV-03522-WHO) 2021 WL 6091742, Judge Orrick
16                        of the Northern District Court of California expressly found the following
17                        rates to be reasonable in 2021: $800 to $1,200 per hour for partners; $405 to
18                        $925 per hour for associates; $260 to $400 per hour for paralegals. In Banas
19                        v. Volcano Corporation (N.D. Cal. 2014) 47 F.Supp.3d 957, 965-66, the
20                        Northern District Court approved hourly market rates for this forum for
21                        attorneys ranging from $355 to $1,095 per hour for partners and associates
22                        and $245 to $290 per hour for paralegals for work conducted almost ten years
23                        ago. See also Hefler v. Wells Fargo & Company (N.D. Cal. Dec. 18, 2018,
24                        No. 16-cv-05479-JST) 2018 WL 6619983, at *14 (approving hourly rates in
25                        the range of $650-$1,250 for partners, $400-$650 for associates, and $245-
26                        $350 for paralegals), affd. sub nom. Hefler v. Pekoc (9th Cir. Apr. 20, 2020)
27                        802 F.App’x 285; In re Volkswagen “Clean Diesel” Marketing, Sales
28
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 1                            Practices, and Products Liability Litigation (N.D. Cal. Mar. 17, 2017, MDL

 2                            No. 2672 CRB (JSC)) 2017 WL 1047834, at *5 (approving hourly rate

 3                            ranges of $275-$1,600 for partners, $150-$790 for associates, and $80-$490

 4                            for paralegals as reasonable).

 5         V. KNOWLEDGE OF CREDIBLE RATE SURVEYS

 6             34.     In addition to prior court fee decisions, courts often rely upon the National Law
 7       Journal billing rate survey and similar forum-specific surveys as instructive in determining
 8       appropriate market rates. See, e.g., Schwarz v. Sect. of Health & Human Services (9th Cir. 1995)
 9       73 F.3d 895, 908; Center for Biological Diversity v. County of San Bernardino (2010) 185
10       Cal.App.4th 866, 900 (relying on 2007 National Law Journal annual survey showing San
11       Francisco partner rates between $495 and $775 per hour).
12             35.     According to the annual billing rate survey published in 2017 by the National Law
13       Journal, 4 the average billing rate for partners at law firms with major offices in the San Francisco
14       Bay Area ranged from approximately $1150 to $550 per hour. For example, in 2017, partners at
15       the Cooley law firm billed at an average rate of $995 per hour. Partners at Reed Smith billed at an
16       average rate of $800 per hour. Partners at Greenberg Traurig billed at an average rate of $950 per
17       hour. Partners at Irell and Manella billed at an average rate of $1135 per hour. Lawyers (partners
18       and associates) at Gibson Dunn & Crutcher billed at an average rate of $855 per hour. Lawyers
19       (partners and associates) at Morgan Lewis & Brokius billed at an average rate of $700 per hour.
20             36.     The 2017 National Law Journal survey found associate rates in firms with major
21       offices in the San Francisco Bay Area to range from approximately $870 to $300 per hour, with an
22       average of approximately $500. For example, in 2017, associates at the Los Angeles firm of Irell
23       and Manella billed at an average rate of $870 per hour. Associates at Cooley billed at rates ranging
24       from $800 to $425 with an average associate rate of $563 per hour. Associates at Reed Smith
25       billed at an average rate of $575 per hour. Associates at Greenberg Traurig billed at an average
26       rate of $563 per hour. Associates at Sheppard Mullin billed at an average rate of $488 per hour.
27

28   4
         The National Law Journal stopped publishing its rate survey in 2017.
                                                12
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 1               37.     Although the National Law Journal no longer publishes its annual billing rate survey,
 2       based on my professional opinion, I am aware that billing rates have increased since 2017. While
 3       rates in the Eastern District of California tend to be lower than in the San Francisco Bay Area, the
 4       hourly rates set forth in the 2017 National Law Journal survey are representative of rates charged
 5       in California for high quality counsel, comparable in skill to the counsel in the instant action. I
 6       have observed that the billing rates for Eastern District attorneys have increased over the years.
 7               38.     Another useful benchmark in determining reasonable market rates is the adjusted
 8       Laffey Matrix, named after Laffey v. Northwest Airlines, Inc. (D.D.C. 1983) 572 F. Supp. 354,
 9       371. Courts have relied on the updated Laffey Matrix (Smith v. District of Columbia (D.D.C.

10       2006) 466 F.Supp.2d 151, 156), including federal courts in California. Kempf v. Barrett Business

11       Services, Inc. (N.D. Cal. Nov. 20, 2007, No. C-06-3161 SC) 2007 WL 4167016 (finding

12       attorneys’ requested fees reasonable when compared to rates in the Updated Laffey Matrix), affd.

13       (9th Cir. June 22, 2009) 336 F.App’x 658. The Laffey Matrix is based on rates charged in

14       Washington, D.C., and so must be adjusted to reflect the Sacramento and Tahoe area market.

15       Perfect 10, supra, 2015 WL 1746484, at *16. While reliance on the Laffey Matrix (adjusted for

16       local rates) is not mandatory, the courts have held that it is a useful indicator of billing rates in

17       conjunction with attorney declarations and other information. Syers Properties III, Inc. v. Rankin

18       (2014) 226 Cal.App.4th 691, 702.

19               39.     The adjusted Laffey Matrix is available on-line at:

20       http://www.laffeymatrix.com/see.html. The Laffey Matrix is a United States Department of Justice

21       billing matrix that provides billing rates for attorneys at various experience levels in the

22       Washington, D.C., area and can be adjusted to establish comparable billing rates in other areas

23       using data from the United States Bureau of Labor Statistics. 5 As of 2024, the mean salary for

24       attorneys in Washington D.C. and Sacramento, California was $219,400 and $202,000

25       respectively, or an 8% difference. According to the most recent adjusted Laffey Matrix, current

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         Compare https://data.bls.gov/oes/#/area/0047900; with https://data.bls.gov/oes/#/area/0040900.
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                                                 13
          DECLARATION OF RICHARD DRURY ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                               COSTS
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 1   market rates for the Sacramento and Tahoe area are as follows – assuming a 8% negative

 2   adjustment: paralegals - $237; 1-3 year lawyers - $435; 4-7 year lawyers - $535; 8-10 year lawyers

 3   - $772; 11-19 year lawyers - $872; 20+ year lawyers - $1,049.

 4     VI. THIS LITIGATION

 5                40. I am familiar with this litigation.
 6                41. In preparing this declaration, I have reviewed:
 7                •   The declarations of Plaintiff’s counsel submitted in support of this motion
 8                •   Plaintiff’s motion to amend the complaint (Dkt. 42)
 9                •   Defendant’s opposition to plaintiff’s motion to amend the complaint (Dkt. 45)
10                •   Order granting plaintiff’s motion for leave to file a second amended complaint
11                    (Dkt. No. 48)
12                •   Defendant’s Phase I motion for summary judgment (Dkt. 80-01)
13                •   Plaintiff’s Phase I motion for summary judgment (Dkt. 81)
14                •   Plaintiff’s opposition to Defendant’s Phase I motion for summary judgment (Dkt.
15                    86)
16                •   Defendant’s opposition to Plaintiff’s Phase I motion for summary judgment (Dkt.
17                    87)
18                •   Plaintiff’s supplemental brief re Sackett v. EPA, 598 U.S. 651 (Dkt. 95)
19                •   Defendant’s supplemental brief re Sackett v. EPA, 598 U.S. 651 (Dkt. 95)
20                •   Order granting Plaintiff’s Phase I summary judgment motion, denying
21                    Defendant’s Phase I summary judgment motion (Dkt. No. 99)
22                •   Plaintiff’s motion to file a third amended complaint (Dkt. 113)
23                •   Plaintiff’s Phase II motion for summary judgment (Dkt. 115)
24                •   Defendant’s opposition to Plaintiff’s motion to file a third amended complaint
25                    (Dkt. 119)
26                •   Defendant’s opposition to Plaintiff’s Phase II motion for summary judgment
27                    (Dkt. 133)
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                                             14
      DECLARATION OF RICHARD DRURY ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
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 1                  •   Defendant’s supplemental brief re Loper Bright Enterprises v. Raimondo, 603
 2                      U.S. 369 (Dkt. 151)
 3                  •   Plaintiff’s supplemental brief re Loper Bright Enterprises v. Raimondo, 603 U.S.
 4                      369 (Dkt. 152)
 5                  •   Order granting plaintiff’s Phase II summary judgment motion, granting
 6                      Plaintiff’s motion for leave to file third amended complaint, and denying
 7                      Plaintiff’s motion in limine without prejudice (Dkt. 158)
 8                  •   Order granting Plaintiff injunctive relief (Dkt. 170)
 9

10          42.     As noted, I frequently bring cases in California, including in the Eastern District of

11 California, and have studied the prevailing market rates for attorneys in these areas. In doing so, I

12 have consulted with colleagues about prevailing market rates for work in these courts and reviewed

13 rates based on fee awards.

14          43.     It is my opinion that the following rates for counsel who billed time in this matter are

15 consistent with, or substantially lower than, rates for attorneys with similar skill and experience for

16 comparable litigation in the Eastern District of California. This belief is based on discussing with

17 other attorneys, preparation of attorneys’ fee applications in other matters in state and federal court,

18 applicable case law, fee rate analysis as described above, and my personal experience with public

19 interest litigation in California.

20

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                                                                     Experience        E.D. Cal. Market
22     Timekeeper                         Role                       (Years)                 Rate
       Matthew Maclear                    Attorney/Partner                     25                  $670
23
       Jason Flanders                     Attorney/Partner                     20                  $640
24                                        Attorney / Legal
       Drevet Hunt                        Director CCKA                          20                  $640
25     Erin Clancy                        Attorney CCKA                          18                  $620
26     Erica Maharg                       Attorney/Partner                       14                  $590
       Christopher Hudak                  Attorney/Associate                     13                  $580
27
       Austin Sutta                       Attorney/Associate                     11                  $580
28     J. Thomas Brett                    Attorney/Associate                      8                  $550
                                             15
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 2                                                                     Experience        E.D. Cal. Market
       Timekeeper                         Role                         (Years)                 Rate
 3     Lauren Marshall                    Attorney/Associate                        7                $520
 4     Harrison Beck                      Attorney/Associate                        4                $345
       Kenya Rothstein                    Attorney/Associate                        4                $345
 5     Carson Capps                       Attorney/Associate                        3                $345
 6     Theresa Trillo                     Attorney/Associate                        2                $345
       Theresa Trillo                     Paralegal                         2.5 years                $218
 7
       Esmeralda Bustos                   Paralegal                        > 10 years                $218
 8     Attorney Paralegal Time            Paralegal                                                  $218
 9          44.     I note that Plaintiff achieved excellent results in this hard fought litigation, as

10 demonstrated by the fact that they received judgments in their favor on both Phase I and Phase II

11 motions for summary judgment collectively finding that Defendant MEC is a CAFO that discharges

12 pollutants to waters of the United States without a permit in violation of the Clean Water Act, and

13 that MEC’s pollution causes injury in fact to Plaintiff’s members 19 miles downstream of the

14 facility. Plaintiff further obtained injunctive relief from the Court ordering Defendant MEC to, inter

15 alia, obtain permit coverage for its otherwise unlawful discharges to waters of the United States and

16 to conduct monthly monitoring and reporting and to submit the results of the same to the Court each

17 month.

18          45.     I also note that the Plaintiff’s counsel experienced significant contingent risk in this

19 action. Counsel assumed representation in this matter on a contingency fee basis and therefore

20 assumed a substantial risk should this litigation have proven unsuccessful. Given the type of relief

21 sought, Plaintiff and its counsel experienced a significant risk that they may have received no

22 monetary recovery for their substantial time expenditures. A fully compensatory fee recovery is

23 warranted and necessary to continue to encourage lawyers of this skill and competency to accept the

24 risks and hardships of a case of this nature, in furtherance of Congress’s goals provide for by and

25 through the Clean Water Act.

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          Executed on April 18, 2025 at San Francisco, California.
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                                              Richard Drury
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      DECLARATION OF RICHARD DRURY ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND
                                           COSTS
